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 8                                              IN THE UNITED STATES DISTRICT COURT

 9                                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                    CASE NO. 1:10-CR-00416 LJO

12                                               Plaintiff,       ORDER ON GOVERNMENT’S MOTION TO
                                                                  DISMISS
13                                         v.                     Fed. R. Crim. P. 48(a)

14   JULIAN SANCHEZ-MEDINA,

15                                               Defendant.

16

17                            IT IS HEREBY ORDERED that the charges as to JULIAN SANCHEZ-MEDINA, in the above-
18 entitled case be dismissed without prejudice, in the interest of justice and any warrant shall be recalled.

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20 IT IS SO ORDERED.

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                           Dated:   June 11, 2013                     /s/ Lawrence J. O’Neill
22   DEAC_Signature-END:
                                                                   UNITED STATES DISTRICT JUDGE

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            Motion to Dismiss, FRCrimP 48(a)                      1
